Case 5:12-cr-00078-C Document 63 Filed 12/14/12 Page1of11 PagelD 403

 

 

US. DISTRICT COURT

 

 

 

IN THE UNITED STATES DISTRICT C UR TRICT OF TEXAS
FOR THE NORTHERN DISTRICT OF TEXAS LED
LUBBOCK DIVISION BEG | 4 2012
CLERK, US. DISTRICT COuRT
UNITED STATES OF AMERICA § Depuiy
§
Vv. §
§ No. 5:12-CR-078-C
JEFFREY DAVID GUNSELMAN, § ECF
Individually, and d/b/a Absolute Fuels, §
LLC §

PLEA AGREEMENT
Jeffrey David Gunselman, individually, and d/b/a Absolute Fuels, LLC (hereafter,
“Gunselman”), defendant, Dan Cogdell, attorney for Gunselman, and the United States
of America (the Government), agree as follows:
1. Rights of the defendant: Gunselman understands that he has the right:
a. to plead not guilty;
b. to have a trial by jury;
c. to have his guilt proven beyond a reasonable doubt;

d. to confront and cross-examine witnesses and to call witnesses in his
defense; and

e. against compelled self-incrimination.
2. Waiver of rights and plea of guilty: Gunselman waives these rights and
pleads guilty to each of the Seventy-Nine Counts alleged in the Indictment, charging:

a. Counts One through Fifty-One: Wire Fraud, in violation of Title
18, United States Code, Section 1343;

Plea Agreement (Gunselman) - Page 1
Case 5:12-cr-00078-C Document 63 Filed 12/14/12 Page2ofi11 PagelD 404

b. Counts Fifty-Two through Seventy-Five: Money Laundering, in
violation of Title 18, United States Code, Section 1957; and

c. Counts Seventy-Six through Seventy-Nine: False Statement, in
violation of the Clean Air Act, Title 42, United States Code, Section
7413(c)(2)(A).

Gunselman understands the nature and elements of each crime to which he is
pleading guilty and agrees that the factual resume which he has signed is true and will be
submitted as evidence.

3. Sentence: The maximum penalties the Court can impose include:

a. For Each of Counts One through Fifty-One: Wire Fraud, in
violation of Title 18, United States Code, Section 1343:

i. a period of imprisonment for not more than twenty
(20) years;

il. a fine not to exceed $250,000.00, or twice the
pecuniary gain to the defendant or losses to the
victim(s) resulting from each offense;

iii. aterm of supervised release, the initial term of which
shall not exceed three (3) years;

iv. | amandatory special assessment of $100.00;

Vv. restitution to victims or to the community, which may
be mandatory under the law, and which defendant
agrees may include restitution arising from all relevant
conduct, not limited to that arising from the offenses
of conviction alone;

vi. costs of incarceration and supervision; and

vil. forfeiture of all property constituting or derived from
the proceeds traceable to the wire fraud activity.

Plea Agreement (Gunselman) - Page 2
 

Case 5:12-cr-00078-C Document 63 Filed 12/14/12 Page3of11 PagelD 405

b. For Each of Counts Fifty-Two through Seventy-Five: Money
Laundering, in violation of Title 18, United States Code, Section

1957:

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Vii.

a period of imprisonment for not more than ten (10)
years;

a fine not to exceed $250,000.00, or twice the
pecuniary gain to the defendant or losses to the
victim(s) resulting from each offense;

a term of supervised release, the initial term of which
shall not exceed three (3) years;

a mandatory special assessment of $100.00;

restitution to victims or to the community, which may
be mandatory under the law, and which defendant
agrees may include restitution arising from all relevant
conduct, not limited to that arising from the offenses
of conviction alone;

costs of incarceration and supervision; and

forfeiture of all property involved in, or traceable to
property involved in, the money laundering activity.

C. For Each of Counts Seventy-Six through Seventy-Nine: False
Statement, in violation of the Clean Air Act, Title 42, United States
Code, Section 7413(c)(2)(A):

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Plea Agreement (Gunselman) - Page 3

a period of imprisonment for not more than two (2)
years;

a fine not to exceed $250,000.00, or twice the
pecuniary gain to the defendant or losses to the

victim(s) resulting from each offense;

a term of supervised release, the initial term of which
shall not exceed one (1) year;

a mandatory special assessment of $100.00; and
Case 5:12-cr-00078-C Document 63 Filed 12/14/12 Page4of11 PagelD 406

Vi.

restitution to victims or to the community, which may
be mandatory under the law, and which defendant
agrees may include restitution arising from all relevant
conduct, not limited to that arising from the offenses
of conviction alone; and

costs of incarceration and supervision.

d. Total Maximum Penalties:

The total maximum penalties the Court can impose on
Gunselman include:

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imprisonment for a period of one thousand two
hundred sixty-eight (1,268) years;

a fine of $19,750,000.00 or twice the pecuniary gain to
the defendant or losses to the victim(s) resulting from
each offense;

a term of supervised release of not more than three (3)
years, which may be mandatory under the law and will
follow any term of imprisonment. If the defendant
violates the conditions of supervised release, he could
be imprisoned and subject to additional terms of
supervised release and imprisonment as determined by
the Court in accordance with law;

iv. | amandatory special assessment of $7,900.00;

V. restitution to victims or to the community, which may
be mandatory under the law, and which defendant
agrees may include restitution arising from all relevant
conduct, not limited to that arising from the offenses
of conviction alone;

vi. costs of incarceration and supervision; and

vii. forfeiture of property.

4. Court’s sentencing discretion and role of the Guidelines: Gunselman

Plea Agreement (Gunselman) - Page 4
Case 5:12-cr-00078-C Document 63 Filed 12/14/12 Page5of11 PagelD 407

understands that the sentence in this case will be imposed by the Court after
consideration of the United States Sentencing Guidelines and the factors found in 18
U.S.C. § 3553(a). The guidelines are not binding on the Court, but are advisory only.
Gunselman has reviewed the guidelines with his attorney, but understands no one can
predict with certainty the outcome of the Court’s consideration of the guidelines in this
case. Gunselman fully understands that he will not be allowed to withdraw his plea of
guilty if the applicable advisory guideline range is higher than expected, or if the Court
departs from the applicable advisory guideline range, and the sentence is higher than
expected. The defendant fully understands that the actual sentence imposed (so long as it
is within the statutory maximum) is solely in the discretion of the Court.

5. Relationship between Gunselman and LLCs: Gunselman agrees and
admits that he established Absolute Fuels, LLC; Absolute Milling, LLC; Ellipse Energy,
LLC; 21 Investments, LLC; and YGOG Holdings, LLC; as limited liability companies
under the laws of the State of Texas, but Gunselman agrees and admits that Absolute
Fuels, LLC; Absolute Milling, LLC; Ellipse Energy, LLC; 21 Investments, LLC; and
YGOG Holdings, LLC; are solely alter egos of himself, as an individual. Gunselman
alone owns, manages, directs, and controls each of the named entities, and each has no
separate and distinct existence from him. Each named entity is a single member limited
liability company or lacked the corporate formalities required to operate as a limited
liability company in the State of Texas; therefore, Gunselman agrees that the corporate

veil as to each named entity has been pierced and each entity shall be treated as a sole

Plea Agreement (Gunselman) - Page 5
Case 5:12-cr-00078-C Document 63 Filed 12/14/12 Page6of11 PagelD 408

proprietorship for which he is legally and factually responsible. Gunselman, as the alter
ego of each named entity, agrees to forfeit any and all past, present, and future interests
in, and of, each named entity and waives any and all factual and legal claims to any
property noted as subject to forfeiture (directly or as a substitute asset) in the Indictment
and in any bill of particulars, or seized or restrained by law enforcement agents/officers
during the investigation(s) related to this criminal cause, including, but not limited to,
any and all property and assets held by each named entity.

6. Stipulation regarding amount of loss: Gunselman, the defendant’s
attorney, and the government stipulate that the amount of loss is $41,762,236.87.
Notwithstanding this stipulation regarding the loss amount, Gunselman fully understands
that he will not be allowed to withdraw his plea of guilty if, after a presentence report has
been prepared, the amount of loss is found to be higher than the above-stated amount.
Gunselman understands that the above-referenced stipulation is not binding upon the
Court or upon the probation office, and he will not be allowed to withdraw his guilty plea
should the stipulation not be followed by the Court.

7. Mandatory special assessment: Gunselman agrees to pay to the United
States District Clerk the amount of $7,900.00, in satisfaction of the mandatory special
assessment in this case.

8. Defendant’s agreement: Gunselman shall give complete and truthful
information and/or testimony concerning his participation in the offenses of conviction.

Upon demand, Gunselman shall submit a personal financial statement under oath and

Plea Agreement (Gunselman) - Page 6
Case 5:12-cr-00078-C Document 63 Filed 12/14/12 Page 7of11 PagelD 409

submit to interviews by the government and the United States Probation Office regarding
his capacity to satisfy any fines or restitution. Gunselman expressly authorizes the
United States Attorney’s Office to immediately obtain a credit report on him in order to
evaluate his ability to satisfy any financial obligation imposed by the Court. Gunselman
fully understands that any financial obligation imposed by the Court, including a
restitution order and/or the implementation of a fine, is due and payable immediately. In
the event the Court imposes a schedule for payment of restitution, Gunselman agrees that
such a schedule represents a minimum payment obligation and does not preclude the
United States Attorney’s Office from pursuing any other means by which to satisfy his
full and immediately enforceable financial obligation. Gunselman understands that he
has a continuing obligation to pay in full as soon as possible any financial obligation
imposed by the Court.

Additional specific conditions of Gunselman’s cooperation include the following:

a. Gunselman shall fully cooperate with the investigation and truthfully
disclose all information about his activities and those of others
regarding all criminal violations under investigation;

b. Gunselman shall make all personal and corporate documents,
records, and other information available to government investigators
regarding all criminal violations under investigation;

C. Gunselman will continue to assist in the identification and recovery
of all assets to include the time period September 2009 to the
present, to ensure the ability of the government to obtain substitute
assets, if necessary, to satisfy the loss amount of $41,762,236.87.

9. Forfeiture of property: Gunselman agrees to the following:

a. Gunselman agrees to the forfeiture of all property noted as subject to

Plea Agreement (Gunselman) - Page 7

 
Case 5:12-cr-00078-C Document 63 Filed 12/14/12 Page8ofi1 PagelD 410

forfeiture (directly or as a substitute asset) in the Indictment and in
any bills of particulars, or seized or restrained by law enforcement
agents/officers during the investigation(s) related to this criminal
cause;

b. Gunselman agrees not to contest, challenge, or appeal in any way the
judicial (civil or criminal) forfeiture to the United States of any
property noted as subject to forfeiture in the Indictment and in any
bills of particulars, or seized or restrained by law enforcement
agents/officers during the investigation(s) related to this criminal
cause;

c. Gunselman agrees to consent to the entry of any orders or
declarations of forfeiture regarding all such property and waives any
requirements (including notice of forfeiture) set out in 18 U.S.C. §§
981, 983, and 985; 19 U.S.C. §§ 1607-1609; the Code of Federal
Regulations; and Rules 11 and 32.2 of the Federal Rules of Criminal
Procedure;

d. Gunselman agrees that such property constitutes or was derived
from proceeds traceable to the fraud offense(s) to which he is
pleading guilty; was involved in or traceable to property involved in
the money laundering offense(s) to which he is pleading guilty; and
is therefore subject to forfeiture pursuant to 18 U.S.C. §
981(a)(1)(C) and 28 U.S.C. § 2461(c), and 18 U.S.C. § 982(a)(1);

e. Gunselman agrees to provide truthful information and evidence
necessary for the government to forfeit such property; and

f Gunselman agrees to hold the government, its officers, agents, and
employees harmless from any claims whatsoever in connection with
the seizure, forfeiture, storage, or disposal of such property.

10. Government’s agreement: The government will not bring any additional
charges against Gunselman based upon the conduct underlying and related to
Gunselman’s plea of guilty. The government will file a Plea Agreement Supplement in
this case, as is routinely done in every case, even though there may or may not be any

additional terms. This agreement is limited to the United States Attorney's Office for the

Plea Agreement (Gunselman) - Page 8
 

Case 5:12-cr-00078-C Document 63 Filed 12/14/12 Page9of11 PagelD 411

Northern District of Texas and does not bind any other federal, state, or local prosecuting
authorities, nor does it prohibit any civil or administrative proceeding against the
defendant or any property.

11. Violation of agreement: Gunselman understands that if he violates any
provision of this agreement, or if his guilty plea is vacated or withdrawn, the government
will be free from any obligations of the agreement and free to prosecute him for all
offenses of which it has knowledge. In such event, Gunselman waives any objections
based upon delay in prosecution. If the plea is vacated or withdrawn for any reason other
than a finding that it was involuntary, Gunselman also waives objection to the use against
him of any information or statements he has provided to the government, and any
resulting leads.

12. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this Plea
Agreement. There have been no guarantees or promises from anyone as to what sentence
the Court will impose.

13. Waiver of right to appeal or otherwise challenge sentence: Except as
otherwise provided, Gunselman hereby expressly waives the right to appeal his
conviction and/or sentence on any ground, including any appeal right conferred by 18
U.S.C. § 3742, and Gunselman further agrees not to contest his conviction and/or
sentence in any post-conviction proceeding, including, but not limited to, a proceeding

under 28 U.S.C. §§ 2241 and 2255. Gunselman, however, reserves the right to appeal

Plea Agreement (Gunselman) - Page 9
Case 5:12-cr-00078-C Document 63 Filed 12/14/12 Page 10o0f11 PagelD 412

the following: (a) any punishment imposed in excess of the statutory maximum, and (b)
any claim based on ineffective assistance of counsel.

14. Representation of counsel: Gunselman has thoroughly reviewed all legal
and factual aspects of this case with his lawyer and is fully satisfied with that lawyer’s
legal representation. Gunselman has received from his lawyer explanations satisfactory
to him concerning each paragraph of this plea agreement, each of his rights affected by
this plea agreement, and the alternatives available to him other than entering into this
plea agreement. Because he concedes that he is guilty, and after conferring with his
lawyer, Gunselman has concluded that it is in his best interest to enter into this plea
agreement and all its terms, rather than to proceed to trial in this case.

15. Entirety of agreement: This document is a complete statement of the

parties’ agreement and may not be modified unless the modification is in writing and

signed by all parties.
AGREED TO AND SIGNED this 4 day liunder’ 2012.

SARAH R. SALDANA
UNIVED STATES ATTORNEY

TERE DANSON PAULINA M. Ado
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Plea Agreement (Gunselman) - Page 10

 
Case 5:12-cr-00078-C Document 63 Filed 12/14/12 Page 11of11 PagelD 413

 
  

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Attorney for Gunselman c

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DENISE WILLIAMS
Deputy Criminal Chief

Texas State Bar No. 02975990

 

I have read (or had read to me) this Plea Agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it.

SASHA 2ofe,
’ 7
-Date

 

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I am the defendant’s counsel. I have carefully reviewed every part of this Plea
Agreement with the defendant. To my knowledge and belief, my client’s decision to
enter into this Plea Agreement is an informed and voluntary one.

 

—MVLAPE TIE
DAN COGDELL Date

Attorney for Gunselman

Plea Agreement (Gunselman) - Page 11

 
